      Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
VS.                                                  §    CRIMINAL ACTION NO. H-07-155
                                                     §
AYAD FALLAH,                                         §
MURAD ALMASRI.                                       §

                                 MEMORANDUM AND ORDER


        The defendants, Ayad Fallah and Murad Almasri, pleaded guilty to conspiracy to

commit health care fraud, in violation of 18 U.S.C. § 371. After an extended sentencing

proceeding that included several hearings, this court made a determination of the fraud-loss

amount in determining the range under the Sentencing Guidelines, U.S.S.G. § 2F1.1(b)(1).

For the reasons stated in detail on the record, the amount of loss is properly measured by

what Medicare or Medicaid either allowed or paid, as opposed to the larger billed amount.1

As other courts to consider the question of how to measure the intended loss in a Medicare

fraud case have recognized, the intended loss is not the billed amount because all parties

knew that Medicare would not pay the billed amount but would only reimburse a capped


        1
           The billed amount is the amount the defendants billed to Medicare and Medicaid. Although
providers bill at the local market rates, Medicare reimburses services at a fixed or capped rate per service.
The government asserted that the “allowed amount” is the fixed or capped rate per trip before the 20% co-pay
is deducted. The co-pay may be covered by Medicaid, collected from the patient, or waived by the provider.
See United States v. Miller, 316 F.3d 495, 505 (4th Cir. 2003) (discussing billed amount and Medicare’s
fixed-fee schedules); United States v. Nachamie, 121 F.Supp.2d 285, 293 (S.D.N.Y. 2000), aff’d, 28
Fed.Appx. 13 (2d Cir. 2001) (intended loss was capped rate per service minus the 20% co-pay). The paid
amount is the amount Medicare actually paid to the defendants.
      Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 2 of 6




portion of that amount. See, e.g., United States v. Nachamie, 121 F.Supp.2d 285, 293

(S.D.N.Y. 2000), aff’d, 28 Fed.Appx. 13 (2d Cir. 2001) (“The Government places great

reliance on defendants’ receipt of the remittance statements to support its argument that the

defendants knew of the fraudulent scheme and intended to cause a loss to Medicare. The

same evidence reveals, however, that the defendants knew that Medicare always reimbursed

procedures at a fixed or “capped” rate per procedure. Thus, defendants’ intent was that

Medicare reimburse them, at Medicare's capped rate, for the procedures reflected in the

submitted bills.); United States v. Austin, 432 F.3d 598, 600 n. 2 (5th Cir. 2005) (using

amount paid by Medicare as fraud loss); United States v. Ekpo, 266 Fed. Appx. 830, 2008

WL 450485, at *3-4 (11th Cir. Feb. 21, 2008) (actual amount of claims paid by Medicare

was appropriate loss amount for sentencing); United States v. Nastasi, 2002 WL 1267995,

at *4 (E.D.N.Y. Apr. 17, 2002) (entire amount paid by Medicare and Medicaid was

appropriate amount of loss).2




        2
           The government argues that the intended loss should be the higher billed amount. In support, the
government characterizes the argument for using the lower allowed or paid amount as an impossibility
argument. According to the government, the argument that the intended-loss amount must take into account
the fact that Medicare does not pay more than a fixed rate per procedure is an argument that it was impossible
for the defendants to be paid the amount billed. The government points out that impossibility of payment is
not a defense to using a higher intended loss amount as the fraud-loss amount. See United States v. Klisser,
190 F.3d 34, 35 (2d Cir.1999). The government’s argument appears to confuse the concept of impossibility
with that of intent. The government has not proved, by a preponderance of the evidence, that these defendants
intended Medicare to pay more than its fixed rates.
          The government also cites United States v. McLemore, 200 Fed. Appx. 342, 344 (5th Cir. 2006), in
which the court affirmed a loss calculation based on billed amount based on the rule that no setoff could be
applied for the value of services rendered or products provided. In that case, the trial court recognized but
did not analyze the issue and the appellate court did not discuss it. The rule that setoffs are inappropriate does
not apply to the facts of this case.
     Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 3 of 6




       At the sentencing hearing, this court concluded that the fraud-loss amount for

Guidelines purposes was $1,660,113.01. This was the amount paid to the defendants by

Medicare and Medicaid for ambulance trips for which there was no valid certificate of

medical necessity. The government relied on the documents obtained from the defendants,

from the codefendants who purchased the ambulance business, and from the offices of two

of the three billers who worked during the relevant period. The government’s proposed

fraud-loss amount – after adjustments following consultation with counsel for the defendants

and considering their objections and arguments – was $2,190,773.01. This court further

reduced this amount to take into account the likelihood that there had been other facially

valid certificates that either no longer existed or that had been omitted from the calculation

but should be included. This court reduced the “paid” amount by $500,000, to take into

account that as many as 50 certificates were no longer available because one of the three

billers who worked for the defendants had died and her spouse had discarded her papers.

This court also reduced the figure by another $30,600, to take into account possible

overstated losses in the billings for patients R.B., AA., and M.G. Although the defendants

urged that there were other facially valid certificates that should be included, further reducing

the intended fraud-loss amount, there was no basis to conclude that either the allowed amount

or the paid amount could be less than $1,000,000.00.

       The remaining issue is the restitution amount. Under the Mandatory Victims

Restitution Act (“MVRA”), sentencing courts must order restitution to victims of “offense[s]
     Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 4 of 6




against property . . . committed by fraud or deceit.” 18 U.S.C. § 3663A(a)(1) & (c)(1)(A)(ii).

A district court acting under the MVRA “shall order restitution to each victim in the full

amount of each victim's losses as determined by the court without consideration of the

economic circumstances of the defendant.” Id. § 3664(f)(1)(A). The government bears the

burden of proving the amount of loss by a preponderance of the evidence. United States v.

Galloway, 509 F.3d 1246, 1253 (10th Cir. 2007). The calculation of loss under § 2F1.1 of

the Sentencing Guidelines does not necessarily establish loss under the MVRA. Id. Unlike

loss under the Guidelines, the MVRA requires proof of actual loss and does not allow

alternative metrics, such as gain. See United States v. Hudson, 483 F.3d 707, 711 (10th

Cir.2007). No alternative metric is used in this case.

       When calculating loss under the MVRA, absolute precision is not required. United

States v. Ahidley, 486 F.3d 1184, 1189 (10th Cir.2007); United States v. Teehee, 893 F.2d

271, 274 (10th Cir.1990) (noting that “[t]he determination of an appropriate restitution

amount is by nature an inexact science.”). A sentencing court may resolve restitution

uncertainties “with a view towards achieving fairness to the victim,” so long as it still makes

a “reasonable determination of appropriate restitution” rooted in a calculation of actual loss.

United States v. Vaknin, 112 F.3d 579, 587 (1st Cir.1997) (quotation omitted). Accordingly,

“in the case of fraud or theft, the loss need not be determined with precision. The court need

only make a reasonable estimate of the loss, given the information available.” United States
     Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 5 of 6




v. Jackson, 155 F.3d 942, 949 n. 3 (8th Cir.1998) (quotation omitted); United States v.

Gallant., 37 F.3d 1202, 1252 (10th Cir. 2008).

       In this case, the record supports a restitution amount of $1,660,113.01, the same figure

as the intended loss amount. The intended and actual loss amounts are the same. The actual

loss amount is the amount paid to the defendants by Medicare and Medicaid for ambulance

trips that did not have the required certificates of medical necessity. This amount was

reduced to take into account the defendants’ arguments that some of the trips did have

facially valid certificates that were no longer available and that other trips had been

improperly treated as lacking such certificates. The government has met its burden of

proving this loss.

       The defendants, Ayad Fallah and Murad Almasri, are jointly and severally liable to

pay Medicare and Medicaid a total amount of $1,660,113.01 in restitution. Payments to

Medicare represented 81.3% of the total paid amount without certificates of medical

necessity; payments to Medicaid represented 18.7% of this amount. Applying these

percentages to the restitution figure of $1,660,113.01 results in $1,349,672 due to Medicare

and $310,441.01 due to Medicaid. Each defendant, Ayad Fallah and Murad Almasri, is

jointly and severally liable to pay restitution in the amount of $1,349,672 to Medicare and

$310,441.01 to Medicaid.

       Having assessed the defendants’ ability to pay, payment of the total criminal monetary

penalties is due as follows: each defendant must make a lump sum payment of $100 due
     Case 4:07-cr-00155 Document 444 Filed on 12/01/08 in TXSD Page 6 of 6




immediately. The balance is due in equal monthly installments of $300, to begin 60 days

after the entry of judgment. The defendants' restitution obligation is not affected by any

restitution payments that may be made by other defendants in this case, except that no further

payment is required after the sum of the amounts paid by all defendants has fully covered all

the compensable losses.

              SIGNED on December 1, 2008, at Houston, Texas.


                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
